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                                       7
                                                                     UNITED STATES BANKRUPTCY COURT
                                       8
                                                              NORTHERN DISTRICT OF CALIFORNIA - OAKLAND
                                       9
                                                                                   )            Case Number: 18-41099 WJL
                                      10   In Re:                                  )
                                                                                   )            Chapter 11
                                      11                                           )
                                           Marc Protenic                           )            OBJECTIONS TO CLAIM, OF
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                                      12                                           )            BOSCO CREDIT, LLC, CLAIM #3
    1300 Clay Street, Suite 600




                                           Dena Protenic                           )
       Oakland, CA 94612




                                      13                                           )            DATE:         December 5, 2018
                                                                                   )            TIM E:        10.30 a.m.
                                      14                                           )            CTRM:         220
                                                                                   )
                                      15                           Debtors.        )            1300 Clay Street
                                                                                   )            Oakland, CA 94612
                                      16
                                                                                                Hon. W.J. Lafferty
                                      17
                                      18
                                      19
                                                    TO: CREDITOR, BOSCO Credit, LLC, OFFICE OF THE UNITED STATES
                                      20
                                           TRUSTEE AND INTERESTED PARTIES:
                                      21
                                                    Debtors, Marc and Dena Protenic, Debtors in this Chapter 11 filing, object to the Proof
                                      22
                                           of Claim ( the “Claim Objection”) of BOSCO Credit LLC.(“Claimant” or “Bosco”) on the
                                      23
                                           following basis:
                                      24
                                                                   MEMORANDUM OF POINTS AND AUTHORITIES
                                      25
                                                                                           I.
                                      26
                                                                              STATEMENT OF FACTS
                                      27
                                                    A.     General Background
                                      28

                                           PROTENIC-OBJECTION TO BOSCO POC
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                                       1              1.     Marc and Dena Protenic, (hereinafter “Debtors”) commenced a bankruptcy case
                                       2                     by filing a voluntary Chapter 11 petition under the United States Bankruptcy Code
                                       3                     ("Code"), 11 U.S.C. § 101 et seq. on May 9, 2018.
                                       4              B.     BOSCO CREDIT LLC( hereinafter “Bosco”)
                                       5              2.     Claimant, Bosco has filed a Proof of Claim, Claim 3 (Claim filed on
                                       6                     6/29/2018(“Claim” or “POC” ) . (See true and correct copy of Claim attached as
                                       7                     Exhibit “1" to Declaration of Debtor ).
                                       8              3.     The Proof of Claim lists a secured claim of $274,496.88 on page 2 of the POC. The
                                       9                     security for the debt is listed as real property located at 22 Centennial Way, San
                                      10                     Ramon, CA 94583. This piece of property was foreclosed upon by the first trust
                                      11                     deed holder, in a non judicial foreclosure. Bosco Credit is the holder of the second
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                                      12                     deed of trust
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                                      13              C.     Debtors Schedules:
                                      14              4.      Debtor does not own any real property.
                                      15              5.     Personal property listed in Schedule A/B , totals $7100.
                                      16              6.     IRS has a lien on all the personal property Debtors’ own.
                                      17              7.     The personal property is otherwise unencumbered.
                                      18              8.     Attached as Exhibit “2"are true and correct copies of Schedule A/B as filed with the
                                      19                     petition, to the Marc Protenic Declaration.
                                      20              9.     The bankruptcy estate does not own the security for the debt.
                                      21                                                   II.
                                      22                                ARGUMENT AND APPLICABLE LAW.
                                      23   A.         APPLICABLE LEGAL AUTHORITY.
                                      24              Rule 3001(f) of the Federal Rules of Bankruptcy Procedure ("F.R.B.P.'') provides that
                                      25   "[a] proof of claim executed and filed in accordance with these rules shall constitute prima facie
                                      26   evidence of the validity and amount of the claim." Rule 3001(c) of the F.R.B.P. provides that
                                      27   "[w]hen a claim ... is based on a writing, the original or duplicate shall be filed with the proof of
                                      28   claim.''

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                                       1          Pursuant to Bankruptcy Code § 502, the Court must determine the allowance or
                                       2          disallowance of claims after an objection is made. Specifically, § 502(a) and (b) provide,
                                       3          in relevant part:
                                       4          (a) A claim or interest, proof of which is filed under section 501of this title, is deemed
                                       5          allowed unless a party in interest ... objects.
                                       6          (b) . . . [I]f such objection to a claim is made, the court, after notice and a hearing, shall
                                       7          determine the amount of such claim in lawful currency of the United Sates as of the date of
                                       8          the filing of the petition...   [11 U.S.C. § 502(a) and (b)].
                                       9          F.R.B.P. 3007 provides, in relevant part:
                                      10                  An objection to the allowance of a claim shall be in writing and
                                      11                  filed. A copy of the objection with notice of hearing thereon shall be
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                                      12                  mailed or otherwise delivered to the claimant, the debtor or debtor in
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                                      13                  possession and the trustee at least 30 days prior to the hearing.
                                      14          Although F.R.B.P 3001(f) provides that "[a] proof of claim executed and filed in
                                      15          accordance with these rules shall constitute prima facie evidence of the validity and amount
                                      16          of the claim," this presumption of a claim's validity does not arise if the claim itself does not
                                      17          set forth the necessary facts to establish the claim.
                                      18   In Wright v. Holm (In re Holm), 931 F.2d 620, 623 (9th Cir.1991), the Ninth Circuit succinctly set
                                      19   forth the burden of proof applicable to a party filing a proof of claim, as well as the burden of proof
                                      20   applicable to a party objecting to the claim. In Holm, the Ninth Circuit stated the parties' respective
                                      21   burdens of proof to be as follows:
                                      22                  In as much as Rule 3001(f) and section 502(a) provide that a claim
                                      23          or interest as to which proof is filed is "deemed allowed," the burden of initially going
                                      24          forward with the evidence as to the validity and amount of the claim is that of the objector
                                      25          to that claim. In short, the allegations of the proof of claim are taken as true. If those
                                      26          allegations set forth all the necessary           facts   to establish   a claim and are not
                                      27          self-contradictory, they prima facie establish the claim. Should objection be taken, the
                                      28          objector is then called upon to produce evidence and show facts tending to defeat the claim

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                                       1          by probative force equal to that of the allegations of the proofs of claim themselves. But
                                       2          the ultimate burden of persuasion is always on the claimant.
                                       3          (Underline added). [Id. at 623].
                                       4   More recently, the Bankruptcy _Appellate Panel of the Ninth Circuit stated the applicable
                                       5   burdens of proof as follows:
                                       6                  The burden of proof for claims brought in the bankruptcy court under II U.S.C.A.
                                       7   § 502(a) rests on different parties at different times.      Initially, the claimant must allege facts
                                       8   sufficient to support     the claim. If the averments in his filed claim meet this standard of
                                       9   sufficiency, it is "prima facie" valid. In other words, a claim that alleges facts sufficient to support
                                      10   a legal liability to the claimant satisfies the claimant's initial obligation to go forward. The burden
                                      11   of going forward then shifts to the objector to produce evidence sufficient to negate the prima facie
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                                      12   validity of the filed claim. ... If the objector produces sufficient evidence to negate one of more of
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                                      13   the sworn facts in the proof of claim, the burden reverts to the claimant to prove the validity of the
                                      14   claim by a preponderance of the evidence. The burden of persuasion is always on the claimant.
                                      15   (Italics in original; Underline added).
                                      16   Ashford v. Consolidated Pioneer Mortgage (In re Consolidated Pioneer Mortgage), 178
                                      17   B.R.222,226 (9th Cir. BAP 1995), quoting In re Alleghene International Inc., 954 F.2d 167, 173-174
                                      18   (3rd Cir. 1992); see also, In re Heath, 331 B.R. 424 (9th Cir. BAP 2005) (explaining that a claim
                                      19   that fails to attach supporting documentation is not entitled to be considered as prima facie evidence
                                      20   of validity and amount of the claim).
                                      21          An alleged creditor has an obligation to respond to requests for information supporting the
                                      22   creditor's filed proof of claim. Heath at 436. Thereafter, if the creditor "does not provide
                                      23   information or is unable to support its claim, then that in itself may raise an evidentiary basis to
                                      24   object to the unsupported aspects of the claim, or even a basis for evidentiary sanctions, thereby
                                      25   coming within Section 502(b)'s grounds to disallow the claim." Id. at 437 (citing and quoting In re
                                      26   Shank, 315 B.R. 799, 816 (Bankr. N.D. Ga. 2004) for the proposition that a "creditor who fails to
                                      27   provide supporting documentation 'may well find itself with a disallowed claim"'). Thus, if a party
                                      28   "requires documentation to make a good faith inquiry into the existence or amount of any liability

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                                       1   and a claimant refuses a legitimate request to produce it, an objection that asserts her good faith
                                       2   challenge and requests disallowance of the claim due to inadequate documentation would be
                                       3   appropriate and could well result in entry of an order disallowing the claim ... ."Id.
                                       4   (quoting Shank at 815).
                                       5   B. BASED ON SCHEDULES FILED THE BANKRUPTCY ESTATE DOES NOT OWN THE
                                       6   ASSET CLAIMED TO BE SECURITY FOR THE DEBT.
                                       7   The POC specifically sets forth the asset securing the debt. The asset, real property located at
                                       8   22 Centennial Way, San Ramon, CA 94583,, is not a part of the bankruptcy estate.
                                       9   11 USCS § 506 addresses secured status.
                                      10   § 506. Determination of secured status
                                      11   (a) (1) An allowed claim of a creditor secured by a lien on property in which the estate has an
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                                      12   interest, or that is subject to setoff under section 553 of this title [11 USCS § 553], is a secured claim
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                                      13   to the extent of the value of such creditor's interest in the estate's interest in such property, or to the
                                      14   extent of the amount subject to setoff, as the case may be, and is an unsecured claim to the extent
                                      15   that the value of such creditor's interest or the amount so subject to set off is less than the amount
                                      16   of such allowed claim. Such value shall be determined in light of the purpose of the valuation and
                                      17   of the proposed disposition or use of such property, and in conjunction with any hearing on such
                                      18   disposition or use or on a plan affecting such creditor's interest.
                                      19   (2) If the debtor is an individual in a case under chapter 7 or 13 [11 USCS §§ 701 et seq. or 1301
                                      20   et seq.], such value with respect to personal property securing an allowed claim shall be determined
                                      21   based on the replacement value of such property as of the date of the filing of the petition without
                                      22   deduction for costs of sale or marketing. With respect to property acquired for personal, family, or
                                      23   household purposes, replacement value shall mean the price a retail merchant would charge for
                                      24   property of that kind considering the age and condition of the property at the time value is
                                      25   determined.
                                      26            The asset securing the debt is not property of the estate. This claim is NOT a secured
                                      27   Claim.
                                      28

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                                       1                                                  III.
                                       2   A CREDITOR, AFTER RESORTING TO FORECLOSURE UNDER A POWER OF
                                       3   SALE IN A DEED OF TRUST, IS NOT ENTITLED TO PURSUE THE PRINCIPAL
                                       4   OBLIGORS FOR A DEFICIENCY
                                       5   A creditor, after resorting to foreclosure under a power of sale in a deed of trust, is not entitled to
                                       6   pursue the principal obligors for a deficiency. Union Bank v. Dorn (Cal. App. 2d Dist. Sept. 6,
                                       7   1967), 254 Cal. App. 2d 157, 61 Cal. Rptr. 893, 1967 Cal. App. LEXIS 1376
                                       8   There are a line of cases that follow this holding.
                                       9          This section and §§ 580–580c, 726 indicate a legislative intent to limit strictly the right to
                                      10   recover deficiency judgments, that is, to recover on the debt more than the value of the security.
                                      11   Freedland v. Greco (Cal. Nov. 4, 1955), 45 Cal. 2d 462, 289 P.2d 463, 1955 Cal. LEXIS 336
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                                      12          This section and CCP § 580b have to do solely with actions for recovery of deficiency
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                                      13   judgments on the principal obligation after sale under a trust deed, as distinguished from an
                                      14   indorser’s obligation; thus the only person coming within the protective provisions of these
                                      15   sections is the principal debtor. Stephenson v. Lawn (Cal. App. 3d Dist. Dec. 2, 1957), 155 Cal.
                                      16   App. 2d 669, 318 P.2d 132, 1957 Cal. App. LEXIS 1340.
                                      17          The provisions of this section are designed and intended to implement a statutory public
                                      18   policy ordained to protect debtors as a class against deficiency judgments in foreclosures. Bank
                                      19   of Am. Nat. Trust & Sav. Ass'n v. United States (S.D. Cal. June 10, 1949), 84 F. Supp. 387,
                                      20   1949 U.S. Dist. LEXIS 2664.Cal Code Civ Proc § 580d.
                                      21          This section and §§ 580–580c, 726 indicate a legislative intent to limit strictly the right to
                                      22   recover deficiency judgments, that is, to recover on the debt more than the value of the security.
                                      23   Freedland v. Greco (Cal. Nov. 4, 1955), 45 Cal. 2d 462, 289 P.2d 463, 1955 Cal. LEXIS 336.
                                      24          Bosco cannot recover on the debt more than the value of the security. This Claim is
                                      25   not supported by property of the estate, and the legislative intent is to limit strictly the
                                      26   right to recover deficiency judgements on debts more than the value of the security.
                                      27   Marc Protenic is the principal Debtor.
                                      28

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                                       1                                                  IV.
                                       2                                         CONCLUSION
                                       3   In light of the foregoing facts, BOSCO CREDIT, LLC‘s Proof of Claim is not a Secured Claim
                                       4   and Creditor Bosco cannot recover deficiency judgment on debts more than the value of the
                                       5   security. Bosco Credit’s Proof of Claim should be dis-allowed in its entirety.
                                       6   WHEREFORE, the Debtor respectfully requests that the Court enter an Order:
                                       7   1.     Sustaining the Objection to Claim of BOSCO CREDIT, LLC as stated above;
                                       8   2.     For such other and further relief as the Court may deem just and proper
                                       9   DATE: October 24, 2018                               Respectfully Submitted,
                                      10                                                        Law Offices of Mufthiha Sabaratnam
                                      11
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                                      12                                                        /s/Mufthiha Sabaratnam, Esq.
    1300 Clay Street, Suite 600




                                                                                                Counsel for Debtors
       Oakland, CA 94612




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